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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                    CORPUS CHRISTI DIVISION

    NEW YORK MARINE AND GENERAL                                  )
    INSURANCE COMPANY                                            )
                                                                 )
    Plaintiff,                                                   )
                                                                 )
    vs.                                                          )   CASE NO. _________________
                                                                 )
    HILLIARD MUÑOZ GONZALES LLP,                                 )
    HMG, LLP and ROBERT C. HILLIARD,                             )
                                                                 )
    Defendants.                                                  )

                           COMPLAINT FOR DECLARATORY JUDGMENT

           Plaintiff New York Marine and General Insurance Company, pursuant to 28 U.S.C. § 2201

and Rule 57 of the Federal Rules of Civil Procedure, hereby seeks a declaratory judgment as to

Defendants Hilliard Muñoz Gonzales LLP, HMG, LLP and Robert C. Hilliard for the purpose of

determining a question of actual, immediate controversy between the parties.

                                       NATURE OF THE COMPLAINT

           1.        Plaintiff New York Marine and General Insurance Company (“NYM”) brings this

declaratory action to establish that its insurance policy does not extend coverage to Hilliard Muñoz

Gonzales LLP, HMG, LLP or Robert C. Hilliard in connection with an underlying arbitration filed

against HMG, LLP and Mr. Hilliard by claimants who initially brought their claims against HMG,

LLP and Mr. Hilliard in a cross-petition filed in a state court lawsuit.

           2.        NYM issued Primary Lawyers Professional Liability Insurance Policy

No. PL201300000284 (the “Policy”) to Defendant Hilliard Muñoz Gonzales LLP for the period

December 23, 2013 to January 6, 2015.1 Hilliard Muñoz Gonzales LLP is a distinct entity from

Defendant HMG, LLP and was not a party to the cross-petition or underlying arbitration.


1   A true and correct copy of the Policy, with premium information redacted, is attached as Exhibit A.



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           3.       Prior to initiating the underlying arbitration proceedings against HMG, LLP and

Robert C. Hilliard, claimants William “Max” Duncan, Jr. and Duncan Litigation Investments, LLC

(“DLI,” and collectively, the “Duncan Parties”) were co-defendants along with Hilliard Muñoz

Gonzales LLP and Robert C. Hilliard in a state court lawsuit styled Thim T. Nguyen, et al. v. Mikal

Watts, et al., Cause No. 2016-13749, in the 55th Judicial District Court of Harris County, Texas (the

“Nguyen lawsuit”). In 2018, the Duncan Parties filed a cross-petition against HMG, LLP and Robert

C. Hilliard in the Nguyen lawsuit, seeking to recover approximately $6,000,000 in funds advanced by

the Duncan Parties to HMG, LLP and Mr. Hilliard for BP oil spill litigation expenses.

           4.       The Duncan Parties subsequently successfully moved to compel arbitration, and

thereafter filed a complaint in arbitration, naming HMG, LLP and Robert C. Hilliard as respondents

(the “Arbitration”). The Arbitration has since concluded.

           5.       NYM declined coverage for the Arbitration on the grounds that (1) HMG, LLP is

not an Insured under the Policy and Mr. Hilliard is not an Insured in connection with the conduct

giving rise to the Arbitration, (2) the conduct by Mr. Hilliard forming the basis for the Arbitration

does not constitute Professional Services under the Policy, (3) the Duncan Parties did not seek any

covered form of damages, and (4) Mr. Hilliard could not satisfy the “no prior knowledge” condition

to coverage.

           6.       Hilliard Muñoz Gonzales LLP, HMG, LLP, and Mr. Hilliard dispute NYM’s

coverage position.2

           7.       Accordingly, in order to resolve the disagreement between the parties, NYM brings

this action for declaratory judgment pursuant to 28 U.S.C. § 2201 and Rule 57 of the Federal Rules

of Civil Procedure to determine the parties’ respective rights and obligations under the Policy.




2   It is not entirely clear whether HMG, LLP disputes NYM’s coverage position.



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Specifically, NYM seeks a judgment declaring the Policy does not extend coverage for the claims

asserted in the Arbitration.

                                                THE PARTIES

        8.       NYM is an insurance company organized and existing under the laws of the State of

New York with its principal place of business in Morristown, New Jersey.

        9.       Upon information and belief, Defendant Hilliard Muñoz Gonzales LLP is a Texas

limited liability partnership with its principal place of business in Nueces County, Texas.

        10.      Upon information and belief, Defendant HMG, LLP is a Texas limited liability

partnership with its principal place of business in Nueces County, Texas.

        11.      Upon information and belief, Defendant Robert C. Hilliard is an individual resident

citizen of Nueces County, Texas.

                                       JURISDICTION AND VENUE

        12.      There is a real, substantial, and justiciable issue in controversy between the parties

hereto with respect to the existence, or lack thereof, of insurance coverage available to Hilliard

Muñoz Gonzales LLP, HMG, LLP and Mr. Hilliard (collectively, the “Hilliard Defendants”) for the

claims asserted against them in the Arbitration.

        13.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1332

because the Hilliard Defendants have diverse citizenship from NYM and the amount in controversy

exceeds $75,000.00, exclusive of interest and costs. This action is further based on 28 U.S.C. § 2201,

which provides that this Court, upon the filing of an appropriate pleading, may declare the rights

and legal relations of any interested party seeking such a declaration.

        14.      Venue is proper in this Court under 28 U.S.C. § 1391 because a substantial part of

the events or omissions giving rise to this lawsuit took place in this District, and because Mr. Hilliard

is a resident of this District.



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                                        FACTUAL BACKGROUND

         15.      The factual background is drawn entirely from publicly available information.

Pursuant to Texas Civil Practices & Remedies Code § 154.073, NYM has not referenced herein any

communications (including any pleadings) made by the Duncan Parties, HMG, LLP, or Mr. Hilliard

in the Arbitration proceeding, and has not referenced the outcome of the Arbitration or any ruling

by the Arbitration panel, other than the non-confidential facts that the Arbitration has concluded

and coverage has been sought in connection with the Arbitration.3

A.       The BP Oil Spill litigation investment

         16.      On April 20, 2010, BP’s Deepwater Horizon drilling rig exploded, causing millions

of gallons of oil to leak into the Gulf of Mexico (the “BP Oil Spill”).4

         17.      On June 10, 2010, non-parties Mikal C. Watts, P.C. and Robert C. Hilliard, LLP5

agreed to jointly handle BP Oil Spill victims’ cases and entered into a joint venture agreement for

that purpose (the “JVA”).6 The JVA obligated Robert C. Hilliard, LLP to provide up to $6,000,000

for litigation expenses.7 Mr. Hilliard asked Mr. Duncan, a family friend and non-attorney, to cover

those expenses in exchange for 50% of Mr. Hilliard’s future legal fees.8

         18.      In July 2010, Mr. Hilliard (individually), HMG, LLP, and DLI entered into a

Litigation Investment Agreement with an effective date of July 1, 2010 (the “LIA”), pursuant to




3 Such communications and information will be relevant and determinative of NYM’s request for declaratory relief and
the parties will have to address in their Rule 26(f) conference how to present these issues for determination in this
proceeding.
4 See, e.g., In re Oil Spill by the Oil Rig Deepwater Horizon, 731 F. Supp. 2d 1352, 1353 (J.P.M.L. 2010).
5 Robert C. Hilliard, LLP is an entity separate and distinct from individual Robert C. Hilliard.
6 See generally, JVA. A true and correct copy of the document entitled “Watts Hilliard Joint Venture Agreement

Concerning Certain Deepwater Horizon Oil Spill Cases” (referred to herein as the “JVA”) that plaintiffs referenced in
and filed as an exhibit to their pleadings in the Nguyen lawsuit is attached as Exhibit B.
7 See JVA, p. 2.
8 See Duncan Parties’ Amended Cross-Petition (“ACP”), ¶¶ 13, 21. A true and correct copy of the ACP filed by the

Duncan Parties in the Nguyen lawsuit is attached as Exhibit C.



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which DLI agreed to pay up to $6 million to Mr. Hilliard and HMG, LLP.9 Mr. Hilliard executed the

LIA individually and on behalf of HMG, LLP in his capacity as HMG, LLP’s Managing Partner.10

B.       The Nguyen lawsuit, cross-petition, and Arbitration

         19.      In 2016, Gulf of Mexico fisherman Thim T. Nguyen initiated the Nguyen lawsuit

against Mr. Hilliard, Hilliard Muñoz Gonzales LLP, Robert C. Hilliard, LLP, Mr. Duncan, DLI, and

others in Texas state court. Ms. Nguyen and others alleged a fraudulent scheme among the

defendants in connection with the prosecution of claims relating to the BP Oil Spill. Specifically,

defendants were alleged to have conspired to file claims on behalf of thousands of fictional “clients”

in order to collect millions of dollars in attorneys’ fees;11 Mr. Duncan and DLI were accused of

knowingly financing the scheme.12

         20.      On February 13, 2018, Mr. Duncan filed an original cross-petition against Mr.

Hilliard and HMG, LLP in the Nguyen lawsuit; on February 23, 2018, Mr. Duncan filed an amended-

cross petition (the “ACP”), which added DLI as a cross-plaintiff. In both the original cross-petition

and the ACP, Mr. Duncan/the Duncan Parties claim they were targeted and defrauded by Mr.

Hilliard and HMG, LLP into investing in the BP Oil Spill litigation.13 Hilliard Muñoz Gonzales LLP

is not a party to or referenced in the original cross-petition or ACP, and the original cross-petition

and ACP do not include any allegation that Mr. Hilliard was acting on behalf of Hilliard Muñoz

Gonzales LLP at any time.



9 See ACP, ¶¶ 21-24; see also LIA, p. 1. A true and correct copy of the document entitled “Litigation Investment
Agreement” (referred to herein as the “LIA”) that HMG, LLP and Mr. Hilliard referenced in and filed as an exhibit to
their pleadings in the Nguyen lawsuit is attached as Exhibit D.
10 See LIA, p. 5.
11 Nguyen Eighth Amended Petition (“Nguyen EAP”), pp. 5-6, 9. A true and correct copy of the Nguyen EAP is attached

as Exhibit E.
12 Nguyen EAP, p. 6. The court dismissed the claims against Mr. Hilliard, Hilliard Muñoz Gonzales LLP, and Robert C.

Hilliard, LLP in the Nguyen lawsuit on January 9, 2018 on limitations grounds, and the Nguyen plaintiffs’ appeal of that
ruling remains pending.
13 See Duncan’s Original Cross-Petition, ¶ 12; see also ACP, ¶ 14. A true and correct copy of the Original Cross-Petition

filed by Mr. Duncan in the Nguyen lawsuit is attached as Exhibit F. NYM was not notified of or provided with a copy of
the Original Cross-Petition, but obtained a copy through the court’s online docket.



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         21.      In May 2018, the court ordered the Duncan Parties’ claims to arbitration, and the

Duncan Parties filed their Second Amended Complaint in Arbitration (“SAC”) against Mr. Hilliard

and HMG, LLP in September 2018.

         22.      On July 11, 2019, Hilliard Muñoz Gonzales LLP, HMG, LLP, and Mr. Hilliard

advised NYM of the conclusion of the Arbitration and demanded coverage in connection with the

Arbitration.14

C.       The Policy

         23.      NYM issued Policy No. PL201300000284 to Named Insured Hilliard Muñoz

Gonzales LLP for the period December 23, 2013 to January 6, 2015. The Policy is a Claims Made

Policy that contains the following relevant provisions:

         I. COVERAGE

         The Company will pay on behalf of the Insured all sums which the Insured shall
         become legally obligated to pay as Damages for Claims first made against the Insured
         and reported to the Company during the Policy Period, subsequent renewal thereof,
         or any applicable Extended Reporting Period arising out of any act, error, omission
         or Personal Injury in the rendering of or failure to render Professional Services for
         others by an Insured covered under this policy. Provided always that such
         Professional Services or Personal Injury happen:

                  A. during the Policy Period; or

                  B. prior to the Policy Period provided that prior to the effective date of the
                     first Lawyers Professional Liability Insurance Policy issued by this
                     Company to the Named Insured or Predecessor in Business, and
                     continuously renewed and maintained in effect to the inception of this
                     policy period: … the Named Insured, any partner, shareholder,
                     employee, or where appropriate the Named Insured’s management
                     committee or any member thereof, had no reasonable basis to believe
                     that the Insured had breached a professional duty or to reasonably
                     foresee that a Claim would be made against the Insured [the “no prior
                     knowledge condition”].15



 It is not entirely clear if HMG, LLP is seeking coverage under the Policy.
14

 See Exhibit A at § I. The first Policy issued to Hilliard Muñoz Gonzales LLP or a Predecessor in Business incepted on
15

December 23, 2011.



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             II. PERSONS INSURED
             Each of the following is an Insured under this policy to the extent set forth below:
                    A. The entity or person named in Item 1 of the Declarations as the Named
                       Insured;
                    B. Any Predecessor in Business or Successor in Business;
                    D. Any current partner, director, stockholder or employed lawyer of any
                       person or entity specified in Item A. or B. above, but only while
                       performing Professional Services on behalf of any person or entity
                       specified in sections A., B. 16
             VIII. DEFINITIONS
             “Damages” means a monetary judgment or monetary award which the Insured is
             legally obligated to pay, including punitive damages or a monetary settlement which
             the Company agrees to on behalf of the Insured, but does not include fines,
             penalties, court-imposed monetary sanctions or return of legal fees, costs or
             expenses. Damages does include the monetary portion of any judgment, award, or
             settlement and any multiples of actual damages under the Texas Deceptive Trade
             Practices and Consumer Protection Act, Texas Business and Commerce Code,
             sections 17.41 et. seq. (DTPA).

             “Insured” means any person or organization qualifying as an Insured in the
             “Persons Insured” provision of this policy. The insurance afforded applies separately
             to each Insured against whom Claim is made or suit is brought, except with respect
             to the Company’s limits of liability.

             “Named Insured” means the person or organization named in Item 1. of the
             Declarations of this policy.

             “Predecessor in Business” means any legal firm which has undergone dissolution
             and one of the following has occurred: (a) some or all of such firm’s principals,
             owners, officers or partners have joined the Named Insured, provided such persons
             were responsible for producing in excess of 50% of the prior firm’s annual gross
             billings and such billings have been assigned or transferred to the Named Insured; or
             (b) at least 50% of the principals, owners, partners or officers of the prior firm have
             joined the Named Insured; or (c) at least 50% of the prior firm’s financial
             assets/liabilities have been assumed by the Named Insured.

             “Professional Services” means… services performed or advice given by the
             Insured in the Named Insured’s practice as a law firm or legal professional[.]

             “Successor in Business” means, after dissolution of the Named Insured, any law
             firm in which one of the following has occurred: (a) some or all of the principals,
             owners, officers and/or partners of the Named Insured have joined an existing, or

16   Id. at § II.



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        formed a new, law firm provided such persons were responsible for producing in
        excess of 50% of the Named Insured’s annual gross billings at the time of
        dissolution and such billings have been assigned or transferred to the successor law
        firm; or (b) at least 50% of the principals, owners, partners or officers of the Named
        Insured have joined an existing, or formed a new law firm; or (c) at least 50% o[f] the
        Named Insured’s financial assets/liabilities have been assumed by the successor law
        firm; provided this policy does not apply to Professional Services or Personal Injury
        if the Successor in Business is also an Insured under any similar liability or indemnity
        policy, or would be an Insured under any such policy but for exhaustion of its limits
        of liability. Coverage for a Successor in Business shall terminate at the earlier of
        policy termination or 90 days from the date of dissolution of the Named Insured
        unless written notice is given to the Company, together with such information as the
        Company may request, and the Successor in Business shall pay any additional
        premium required in the event the Company agrees to continue the policy.17

D.      The coverage dispute

        24.      NYM declined coverage for the Nguyen lawsuit and each subsequently amended

pleading on March 10, May 12, August 5, and October 12, 2016; January 5, June 15, and November

6, 2017; and January 11, 2018. NYM declined coverage on the grounds that the allegations did not

fall within the scope of the Policy’s Insuring Agreement, the Insureds could not satisfy the “no prior

knowledge” condition, Mr. Hilliard was not an Insured in connection with the conduct giving rise to

the Claim, and Exclusion A (business enterprise) independently precluded any coverage. NYM

additionally reserved rights pursuant to Exclusion B (dishonest and fraudulent acts), Exclusion E

(mental distress), and the definition of Damages, and also reserved the right to present additional

bases to deny coverage at a later time. Hilliard Muñoz Gonzales LLP disputed NYM’s March 10,

2016 declination via April 5, 2016 letter, but did not respond to the declinations set forth in NYM’s

subsequent correspondence.18




17Id. at § VIII., as amended by Texas Amendatory Endorsement ¶ 1.
18NYM understands Hilliard Muñoz Gonzales LLP no longer disputes NYM’s coverage determination with respect to
the Nguyen lawsuit.



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         25.       NYM declined coverage for the ACP on March 19, 2018 on the grounds the ACP

constituted the same Claim as the Nguyen lawsuit,19 the “no prior knowledge” condition to coverage

could not be satisfied, and Exclusion A (business enterprise) independently precluded any coverage;

NYM additionally declined coverage for the reasons set forth in its prior Nguyen lawsuit coverage

correspondence, and continued to reserve all rights. The Hilliard Defendants did not dispute NYM’s

March 19, 2018 declination of coverage.

         26.       On October 9, 2018, NYM declined coverage for the Arbitration on the grounds the

SAC (like the ACP) constituted the same Claim as the Nguyen lawsuit, HMG, LLP was not an

Insured under the Policy, and the “no prior knowledge” condition to coverage could not be

satisfied. NYM additionally declined coverage for the reasons set forth in its prior Nguyen lawsuit and

ACP coverage correspondence, and continued to reserve all rights. The Hilliard Defendants did not

dispute or otherwise respond to NYM’s October 9, 2018 declination of coverage until July 11, 2019,

more than nine months later, when they demanded coverage for the claims asserted against Mr.

Hilliard and HMG, LLP in the Arbitration.

         27.       On July 31, 2019, NYM continued to decline coverage for the Arbitration for the

reasons previously asserted, as well as on the grounds that HMG, LLP is not an Insured under the

Policy and Mr. Hilliard is not an Insured in connection with the Arbitration. The Hilliard

Defendants dispute NYM’s declination of coverage.




19 The Policy provides that “[a]ll Claims arising from the same or related act, error or omission or Personal Injury shall
be considered a single Claim for the purpose of this insurance and shall be subject to the same limit of liability” and “[a]ll
Claims arising out of the same or related act, error, omission or Personal Injury shall be considered as having been made
at the time the first such Claim is made, and shall be subject to the same limit of liability and deductible.” See Exhibit A
at § III. A. and § V.



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                                        CAUSE OF ACTION
                                       (Declaratory Judgment)

        28.     NYM adopts and incorporates by reference Exhibits A through F and the allegations

set forth in the preceding paragraphs above as though completely and fully set forth herein.

        29.     “The duty to defend and the duty to indemnify enjoy a degree of independence from

each other. The duty to defend arises before litigation is completed, thus the determination as to

duty to defend is according to the eight-corners rule wherein only the pleadings and the policy

language are considered. On the other hand, the insurer’s duty to indemnify is determined based on

the facts actually established in the underlying suit.” Burlington N. & Santa Fe Ry. Co. v. Nat’l Union

Fire Ins. Co. of Pittsburgh, PA, 334 S.W.3d 217, 219 (Tex. 2011) (citations and internal quotation marks

omitted).

        30.     The only parties named in and bound by the Arbitration are HMG, LLP and Mr.

Hilliard in his capacity as a partner of HMG, LLP. HMG, LLP is not an Insured under the Policy,

and Mr. Hilliard is not an Insured in connection with the conduct giving rise to the Arbitration

because his conduct at issue was not actually or allegedly on behalf of Hilliard Muñoz Gonzales LLP

or its Predecessor in Business (“PIB”) or Successor in Business (“SIB”). Accordingly, the Policy

does not extend coverage to the claims asserted in the Arbitration because neither HMG, LLP nor

Mr. Hilliard is an Insured.

        31.     The Duncan Parties did not assert any claims against, or make any allegation of

vicarious or other liability on the part of, Hilliard Muñoz Gonzales LLP, its PIB or SIB, or any other

purported Insured entity or person. Accordingly, the Policy does not extend coverage to the claims

asserted in the Arbitration because no claim was made against any Insured.

        32.     The Arbitration did not arise out of or allege any act, error, or omission in the

rendering of or failure to render services by Mr. Hilliard in Hilliard Muñoz Gonzales LLP’s practice




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as a law firm. Accordingly, the Policy does not extend coverage to the claims asserted in the

Arbitration because the conduct at issue did not constitute Professional Services.

        33.     Only non-Insureds HMG, LLP and Mr. Hilliard were parties to the Arbitration, and

thus any monetary judgment or award could not be one “which the Insured is legally obligated to

pay.” Further, the Duncan Parties sought a return of their investment in the BP Oil Spill litigation

expenses, and a return of legal fees, costs, or expenses is not a covered form of Damages.

Accordingly, the damages sought in the Arbitration did not fall within the scope of any coverage

under the Policy.

        34.     On information and belief, Mr. Hilliard was aware of facts prior to December 23,

2011 that would lead an objectively reasonable attorney to foresee that a Claim would be made.

Accordingly, Mr. Hilliard cannot satisfy the “no prior knowledge” condition, and the Policy

therefore does not extend coverage to the claims asserted in the Arbitration.

        35.     Other coverage defenses may be revealed during discovery in this action, and NYM

therefore incorporates all Policy terms, conditions, exclusions, and other provisions as defenses to

any claims of coverage by the Hilliard Defendants.

                                      PRAYER FOR RELIEF

        36.     There is an actual, present, and existing controversy between NYM and the Hilliard

Defendants regarding NYM’s obligations under the Policy and the insurance coverage available to

the Hilliard Defendants under the Policy in connection with the Arbitration. This substantial dispute

between parties of adverse legal interests is of sufficient immediacy and reality to warrant the

issuance of a declaratory judgment.

        37.     WHEREFORE, NYM respectfully requests that this Court, pursuant to 28 U.S.C.

§ 2201 and Rule 57 of the Federal Rules of Civil Procedure, exercise jurisdiction over this matter and

enter a declaratory judgment that:



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 (a)    Declares NYM does not owe defense or indemnity to HMG, LLP for the claims

        asserted in the Arbitration;

 (b)    Declares NYM does not owe defense or indemnity to Mr. Hilliard for the claims

        asserted in the Arbitration;

 (c)    Declares NYM does not owe defense or indemnity to Hilliard Muñoz Gonzales

        LLP or any other purported Insured entity or person for the claims asserted in the

        Arbitration;

 (d)    Declares NYM has no responsibility or obligation to Hilliard Muñoz Gonzales LLP,

        HMG, LLP, Mr. Hilliard, or any other entity or person for the claims asserted in the

        Arbitration; and

 (e)    Awards any such other and further relief, legal or equitable, as may be just and

        proper.

                                       Respectfully submitted,

                                       By: _/s/ Ricky Rosenblum
                                           Ricky H. Rosenblum (attorney-in-charge)
                                           Texas Bar No. 17276100
                                           Southern District of Texas Bar No. 13015
                                           Roberta J. Benson (of counsel; Southern District
                                           Bar renewal application pending)
                                           Texas Bar No. 00788400
                                           Michael J. McClain (of counsel; pro hac vice
                                           application forthcoming)
                                           Texas Bar No. 24089186
                                           THE BENSON FIRM PLLC
                                           11401 Century Oaks Terrace, Suite 245
                                           Austin, Texas 78758
                                           Telephone: (512) 774-6062
                                           Facsimile: (512) 774-6072
                                           Email: rick.rosenblum@thebensonfirm.com
                                                   roberta.benson@thebensonfirm.com
                                                   michael.mcclain@thebensonfirm.com

                                          Attorneys for Plaintiff New York Marine and General
                                          Insurance Company



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